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                                                UNITED STATES DISTRICT COURT
                                                      Eastern District of New York
        United States of America                                           Presiding Judge:   ____________________________________
                                                                                              Joanna Seybert, Senior U.S.D.J.
                  -v-                                                      Case No(s).:       ____________________________________
                                                                                              21-cr-0452-JS-SIL
    ______________________________
             Leonardi, et. al.                                             Date:              _______________
                                                                                              6/17/2022
                                                                           Time in Court:     _______________
                                                                                              12:07 (10 mins.)

                                               MINUTE ENTRY FOR A CRIMINAL PROCEEDING

                                                     SEALED PROCEEDING: ☐ Yes ☐
                                                                              X No


I. APPEARANCES:
Defendant (#____):
             2     ______________________________________
                   Robert Leonardi                                         Counsel: __________________________________________
                                                                                    Declan Murray for Dawn Florio
☐
X Present ☐ Not Present ☐ In Custody ☐
                                     X On Bond ☐ Surrendered               ☐
                                                                           X Retained ☐ Federal Defender ☐ CJA ☐ _______________

Defendant (#____):
             3     ______________________________________
                   Willie Junior Maxwell, II                               Counsel: __________________________________________
                                                                                    Elizabeth Macedonio
☐
X Present ☐ Not Present ☐ In Custody ☐
                                     X On Bond ☐ Surrendered               ☐
                                                                           X Retained ☐ Federal Defender ☐ CJA ☐ _______________

Defendant (#____):
             5     ______________________________________
                   Anthony Cyntje                                          Counsel: __________________________________________
                                                                                    Patrick Brackley
☐
X Present ☐ Not Present ☐ In Custody ☐
                                     X On Bond ☐ Surrendered               ☐
                                                                           X Retained ☐ Federal Defender ☐
                                                                                                         X CJA ☐ _______________

Defendant (#____):
             6     ______________________________________
                   Kavaughn Wiggins                                        Counsel: __________________________________________
                                                                                    Robert LaRusso
☐
X Present ☐ Not Present ☐
                        X In Custody ☐ On Bond ☐ Surrendered               ☐ Retained ☐ Federal Defender ☐
                                                                                                         X CJA ☐ _______________

Government: ___________________________________________
            Christopher Caffarone and Andrew Wenzel                        Court Reporter: _____________________________________
                                                                                           Frederick Guerino
Pretrial/Probation: _______________________________________                FTR Time: ________________________________________
Interpreter: _________________________Language: ___________                Courtroom Deputy: __________________________________
                                                                                             Eric L. Russo
☐ See Additional Appearances page.

II. PROCEEDINGS HELD:
☐ Arraignment                                           ☐   Evidentiary Hearing                       ☐ Plea Hearing
☐ Bond Hearing                                          ☐   Fatico Hearing                            ☐ Sentencing/Re-Sentencing
☐ Curcio Hearing                                        ☐   Initial Appearance                        ☐
                                                                                                      X Status/Pre-Trial Conference
☐ Detention Hearing                                     ☐   Motion Hearing

☐
X Other: ___________________________________________________________________________________________________
         Proceedings held via the Court's teleconferencing system.

III. PROCEEDINGS SUMMARY:
☐ Arraignment held regarding _________________________________________________________________________________.
    ☐ Defendant __________ initial appearance before this Court.
    ☐ Defendant __________ waived Indictment.
    ☐ Defendant __________ waived the public reading of the charging instrument.
    ☐ The Court publicly read the charges outlined in the charging instrument.
    ☐ Defendant __________ entered a plea of not guilty as to all counts of the charging instrument.
    ☐ The Government was advised of its obligation under Rule 5(f) of the F.R.Cr.P. and the Due Process Protections Act.
    ☐ Defendant __________ waived Speedy Trial from _________________________.
    ☐ Defendant __________ did not waive Speedy Trial.
    ☐ Defendant __________ Speedy Trial was waived from _________________________ by order of the Court.
    ☐ The Court deemed this case complex.
    ☐ See Section V for additional details and/or rulings.
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☐ Curcio Hearing held.
  ☐ The parties presented their oral arguments to the Court.
  ☐ The defendant was informed of the potential dangers arising from any conflicts of interest.
  ☐ The defendant understood and waived any potential conflicts of interest and wishes to proceed with current counsel.
  ☐ The defendant wishes to relieve current counsel and retain new counsel or have new counsel appointed by the Court.
  ☐ See Section V for additional details and/or rulings.

☐
X Status/Pre-Trial Conference held regarding _____________________________________________________________________.
                                                the charges outlined in the Superseding Indictment (S-1) filed 9/29/2021
  ☐ This was an initial appearance before this Court by Defendant __________.
  ☐
  X The parties advised the Court of the status of the case.
  ☐
  X Defendant __________
                 3, 5, and 6 waived Speedy Trial from _________________________.
                                                              6/17/2022 to 8/15/2022
  ☐ Defendant __________ did not waive Speedy Trial.
  ☐ Defendant __________ Speedy Trial was waived from _________________________ by order of the Court.
  ☐ The Court deemed this case complex.
  ☐ The following briefing schedule was set as to ________________________________________________________________:
      ☐ ________________________________________________ due by: ______________.
      ☐ ________________________________________________ due by: ______________.
      ☐ ________________________________________________ due by: ______________.
      ☐ ________________________________________________ due by: ______________.
  ☐ The parties were directed to file a proposed briefing schedule for court approval on or before ______________.
  ☐ The parties agreed to file fully briefed motion(s) on or before ______________.
  ☐ The Court respectively refers the motion(s) to Magistrate Judge _________________ :
      ☐ for purposes of submitting a Report and Recommendation for this Court’s consideration.
      ☐ to rule on the motion(s) in its entirety.
  ☐ The parties were directed to file and/or exchange the following jury selection/pre-trial documents:
      ☐ Exhibits and witness list by:                        ______________.
      ☐ Proposed voir dire and/or case summary by:           ______________.
      ☐ Proposed request to charge and verdict sheet by: ______________.
      ☐ Government’s 3500 material by:                       ______________.
  ☐ The Court’s decision ☐ was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section V for additional details and/or rulings.

☐ Evidentiary Hearing/Motion Hearing held regarding ______________________________________________________________.
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called ☐ for the Government; ☐ for the defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The Court made the following ruling(s):
     ☐ Motion granted as to __________________________________________________________________.
     ☐ Motion denied as to ___________________________________________________________________.
     ☐ Motion granted, in part, and denied, in part, as to ____________________________________________.
     ☐ Decision reserved on __________________________________________________________________.
  ☐ The Court’s decision ☐ was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section V for additional details and/or rulings.

☐ Plea Hearing held.
  ☐ The defendant was informed of the constitutional rights being waived and the consequences of pleading guilty.
  ☐ The defendant withdrew previously entered not guilty plea and entered a plea of guilty to count(s) ______________________.
  ☐ Court found that the there is a factual basis for the plea and accepted the defendant’s plea of guilty.
  ☐ An Order of Forfeiture was executed.
  ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
  ☐ The parties waived the preparation of the Presentence Investigation Report.
  ☐ See Section V for additional details and/or rulings.
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☐ Fatico Hearing held.
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called ☐ for the Government; ☐ for the defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The Court’s decision ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was reserved.
  ☐ Sentencing was held immediately following the hearing.
  ☐ See Section V for additional details and/or rulings.

☐ Sentencing/Re-Sentencing held as to count(s) ___________________________________________________________________.
  ☐ Statements were heard from ☐ defense counsel; ☐ the defendant; ☐ the Government; ☐ the victim(s).
  ☐ The defendant was sentenced to be imprisoned for a total term of ________________________________________________.
     ☐ Upon release, the defendant shall be on Supervised Release for a total term of ___________________________________.
        ☐ The defendant shall comply with all standard conditions of supervision, to be outlined in the judgment.
        ☐ The defendant shall comply with the special conditions of supervision, outlined in the sentencing recommendation.
     ☐ The Court did not impose a term of Supervised Release.
  ☐ The defendant was sentenced to Probation for a total term of ___________________________________.
     ☐ The defendant shall comply with all standard conditions of supervision, to be outlined in the judgment.
     ☐ The defendant shall comply with the special conditions of supervision, outlined in the sentencing recommendation.
  ☐ The defendant must pay the following criminal monetary penalties:
     ☐ Restitution in the amount of                      $ _________________________.
     ☐ A fine in the amount of                           $ _________________________.
     ☐ A Special Assessment fine in the amount of $ ______________.
     ☐ The defendant must pay interest on the restitution and/or fine ordered of more than $2,500.00.
     ☐ The Court determined that the defendant does not have the ability to pay interest and it was ordered that:
        ☐ the interest requirement is waived.
        ☐ the interest requirement is modified as stated on the record.
     ☐ Interest on any of the criminal monetary penalties was not ordered or not applicable.
  ☐ Restitution:
     ☐ was not ordered or not applicable.
     ☐ was paid in full.
  ☐ A fine:
     ☐ was not ordered or not applicable.
     ☐ was paid in full.
  ☐ The determination of restitution and/or a fine was deferred pending further proceedings.
  ☐ All other conditions shall remain in effect as outlined in the previous judgment(s) dated ______________.
  ☐ The Order of Forfeiture dated ______________ was adopted as the Final Order of Forfeiture.
  ☐ A Final Order of Forfeiture was executed.
  ☐ The defendant:
     ☐ was advised of, or will be advised of, any right to appeal by counsel.
     ☐ has waived the right to appeal at the plea hearing.
  ☐ All open counts in the charging instrument(s) were dismissed on the motion of the United States.
  ☐ See Section V for additional details and/or rulings.
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IV. RULINGS MADE REGARDING DEFENDANT RELEASE STATUS:
☐ Bond Hearing/Detention Hearing held.
   ☐ Defendant __________ did not present a bond application to the Court.
      ☐ An Order of Detention was executed as to Defendant __________.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant __________.
   ☐ The bond application/modification was granted as to Defendant __________.
      ☐ An Order Setting Conditions of Release and Bond was executed as to Defendant __________.
      ☐ The conditions of release were modified as stated on the record as to Defendant __________.
        ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant __________.
   ☐ The bond application/modification was denied as to Defendant __________.
      ☐ An Order of Detention was executed as to Defendant __________.
   ☐ The Government moved for immediate detention of Defendant __________.
      ☐ The motion was ☐ granted; ☐ denied; ☐ granted, in part, and denied, in part.
      ☐ An Arrest Warrant was executed as to Defendant __________.
      ☐ An Order of Detention was executed as to Defendant __________.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant __________.
   ☐ The decision regarding the bond or detention application was reserved.
      ☐ An Arrest Warrant was executed as to Defendant __________.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant __________.
      ☐ A temporary Order Setting Conditions of Release and Bond was executed as to Defendant __________.
   ☐ See Section V for additional details and/or rulings.

☐
X Defendant __________
                6      remain(s) in custody.

☐ A Medical Evaluation Order was executed as to Defendant __________.

☐
X Defendant __________
             2, 3, and 5 remain(s) on bond.

☐ The defendant, being sentenced to term of imprisonment, shall be immediately remanded to the custody of the U.S. Marshals Service
  and/or the Federal Bureau of Prisons.

☐ The defendant, being sentenced to a term of imprisonment, shall surrender for the service of the sentence before 2:00 PM on
  ______________ at the institution designated by the Federal Bureau of Prisons. The defendant will remain on bond, under the
  supervision of Pretrial Services, until the surrender date. Motions to extend of this surrender date must be made at least a forty-five
  (45) days prior to the surrender date.
  ☐ The U.S. Marshals Voluntary Surrender form was executed.

☐ The defendant, being sentenced to a term of probation, was directed to report to the U.S. Probation Department. The defendant will
  remain on bond, and under the supervision of the U.S. Probation Department, with the conditions set forth during sentencing until
  the completion of the ordered term of probation.

☐ The defendant, being sentenced to time served, shall be released forthwith pending the appropriate release procedures by the U.S.
  Marshals Service, Federal Bureau of Prisons, and/or the facility in which the defendant resides.
  ☐ A Time Served Order was executed and submitted to the U.S. Marshals Service.
  ☐ The defendant was directed to report to the U.S. Probation Department upon release. The defendant will be under the supervision
     of the U.S. Probation Department, with the conditions set forth during sentencing until the completion of the ordered term of
     Supervised Release.
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V. OTHER RULINGS MADE DURING THE PROCEEDINGS:
☐ The record of this proceeding was deemed sealed. Transcripts of this proceeding can be made available to the Court, the defendant(s),
   defense counsel, and the Government only.

☐ Other:




VI. FURTHER PROCEEDINGS SET:
☐ No further conferences or hearings have been set at this time.
☐ Bond Hearing:                 __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Curcio Hearing:               __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Detention Hearing:            __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Evidentiary Hearing:          __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Fatico Hearing:               __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Jury Selection:               __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Jury Trial:                   __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Motion Hearing:               __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Plea Hearing:                 __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Preliminary Hearing:          __________ at _________ before Judge _______________________________________, as to Defendant __________.
☐ Sentencing/Re-Sentencing: __________ at _________ before Judge _______________________________________, as to Defendant __________.
    ☐ Parties are directed to file their sentencing memorandums by ______________.
☐
X Status/Pre-Trial Conference:__________
                               8/15/2022 at _________
                                            10:30 AM before Judge _______________________________________,
                                                                  Joanna Seybert    in Courtroom 1030      as to Defendant __________.
                                                                                                                            3, 5, and 6
☐ Other instructions regarding the proceedings set:
